Case No. 1:21-cv-03043-GPG-STV Document 69-11 filed 09/19/22 USDC Colorado pg 1
                                    of 38




                    EXHIBIT J
Case No. 1:21-cv-03043-GPG-STV Document 69-11 filed 09/19/22 USDC Colorado pg 2
                                    of 38 490 Filed 05/06/14 Page 1 of 2
       Case 1:04-cv-00397-GBD-RLE Document




                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF NEW YORK


  MARK I. SOKOLOW, et al.,

                                 Plaintiffs,
                                                        No. 04 Civ. 00397 (GBD) (RLE)
         vs.

  THE PALESTINE LIBERATION
  ORGANIZATION, et al.,

                                 Defendants.


                  DECLARATION OF KENT A. YALOWITZ IN SUPPORT OF
                   PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT ON
                     DEFENDANTS’ FOURTH AFFIRMATIVE DEFENSE

         KENT A. YALOWITZ hereby declares:

         1.       I am a member of the bar of this Court and of the law firm of Arnold & Porter

  LLP, counsel for the plaintiffs in the above-captioned action.

         2.       Attached to this declaration as Exhibit A are true and correct copies of the

  following Plaintiffs’ Trial Exhibits:

      EXHIBIT A
      (tabs below        Plaintiffs’ Designated Trial Exhibit
   correspond to trial
    exhibit numbers)

          A.532          Israeli-Palestinian Interim Agreement on the West Bank and the Gaza
                         Strip (September 28, 1995).

         A.1076          PLO Constitution (amended 1968).

         3.       Attached to this declaration as Exhibit B is a true and correct excerpted copy of

  Defendants’ Objections and Responses to the [Fifth] Set of Interrogatories From All Plaintiffs

  (To The Goldberg Plaintiffs), dated December 21, 2012.
Case No. 1:21-cv-03043-GPG-STV Document 69-11 filed 09/19/22 USDC Colorado pg 3
                                    of 38 490 Filed 05/06/14 Page 2 of 2
       Case 1:04-cv-00397-GBD-RLE Document
Case No. 1:21-cv-03043-GPG-STV Document 69-11 filed 09/19/22 USDC Colorado pg 4
                                    of 38 490-1 Filed 05/06/14 Page 1 of 17
     Case 1:04-cv-00397-GBD-RLE Document
Case No. 1:21-cv-03043-GPG-STV Document 69-11 filed 09/19/22 USDC Colorado pg 5
                                    of 38 490-1 Filed 05/06/14 Page 2 of 17
     Case 1:04-cv-00397-GBD-RLE Document
Case No. 1:21-cv-03043-GPG-STV Document 69-11 filed 09/19/22 USDC Colorado pg 6
                                    of 38 490-1 Filed 05/06/14 Page 3 of 17
     Case 1:04-cv-00397-GBD-RLE Document
Case No. 1:21-cv-03043-GPG-STV Document 69-11 filed 09/19/22 USDC Colorado pg 7
                                    of 38 490-1 Filed 05/06/14 Page 4 of 17
     Case 1:04-cv-00397-GBD-RLE Document
Case No. 1:21-cv-03043-GPG-STV Document 69-11 filed 09/19/22 USDC Colorado pg 8
                                    of 38 490-1 Filed 05/06/14 Page 5 of 17
     Case 1:04-cv-00397-GBD-RLE Document
Case No. 1:21-cv-03043-GPG-STV Document 69-11 filed 09/19/22 USDC Colorado pg 9
                                    of 38 490-1 Filed 05/06/14 Page 6 of 17
     Case 1:04-cv-00397-GBD-RLE Document
Case No. 1:21-cv-03043-GPG-STV Document 69-11 filed 09/19/22 USDC Colorado pg 10
                                     of 38 490-1 Filed 05/06/14 Page 7 of 17
      Case 1:04-cv-00397-GBD-RLE Document
Case No. 1:21-cv-03043-GPG-STV Document 69-11 filed 09/19/22 USDC Colorado pg 11
                                     of 38 490-1 Filed 05/06/14 Page 8 of 17
      Case 1:04-cv-00397-GBD-RLE Document
Case No. 1:21-cv-03043-GPG-STV Document 69-11 filed 09/19/22 USDC Colorado pg 12
                                     of 38 490-1 Filed 05/06/14 Page 9 of 17
      Case 1:04-cv-00397-GBD-RLE Document
Case No. 1:21-cv-03043-GPG-STV Document 69-11 filed 09/19/22 USDC Colorado pg 13
                                    of 38 490-1 Filed 05/06/14 Page 10 of 17
     Case 1:04-cv-00397-GBD-RLE Document
Case No. 1:21-cv-03043-GPG-STV Document 69-11 filed 09/19/22 USDC Colorado pg 14
                                    of 38 490-1 Filed 05/06/14 Page 11 of 17
     Case 1:04-cv-00397-GBD-RLE Document
Case No. 1:21-cv-03043-GPG-STV Document 69-11 filed 09/19/22 USDC Colorado pg 15
                                    of 38 490-1 Filed 05/06/14 Page 12 of 17
     Case 1:04-cv-00397-GBD-RLE Document
Case No. 1:21-cv-03043-GPG-STV Document 69-11 filed 09/19/22 USDC Colorado pg 16
                                    of 38 490-1 Filed 05/06/14 Page 13 of 17
     Case 1:04-cv-00397-GBD-RLE Document
Case No. 1:21-cv-03043-GPG-STV Document 69-11 filed 09/19/22 USDC Colorado pg 17
                                    of 38 490-1 Filed 05/06/14 Page 14 of 17
     Case 1:04-cv-00397-GBD-RLE Document
Case No. 1:21-cv-03043-GPG-STV Document 69-11 filed 09/19/22 USDC Colorado pg 18
                                    of 38 490-1 Filed 05/06/14 Page 15 of 17
     Case 1:04-cv-00397-GBD-RLE Document
Case No. 1:21-cv-03043-GPG-STV Document 69-11 filed 09/19/22 USDC Colorado pg 19
                                    of 38 490-1 Filed 05/06/14 Page 16 of 17
     Case 1:04-cv-00397-GBD-RLE Document
Case No. 1:21-cv-03043-GPG-STV Document 69-11 filed 09/19/22 USDC Colorado pg 20
                                    of 38 490-1 Filed 05/06/14 Page 17 of 17
     Case 1:04-cv-00397-GBD-RLE Document
Case No. 1:21-cv-03043-GPG-STV Document 69-11 filed 09/19/22 USDC Colorado pg 21
                                    of 38 490-2 Filed 05/06/14 Page 1 of 7
      Case 1:04-cv-00397-GBD-RLE Document




     EXHIBIT A.1076
Case No. 1:21-cv-03043-GPG-STV Document 69-11 filed 09/19/22 USDC Colorado pg 22
                                    of 38 490-2 Filed 05/06/14 Page 2 of 7
      Case 1:04-cv-00397-GBD-RLE Document
Case No. 1:21-cv-03043-GPG-STV Document 69-11 filed 09/19/22 USDC Colorado pg 23
                                    of 38 490-2 Filed 05/06/14 Page 3 of 7
      Case 1:04-cv-00397-GBD-RLE Document
Case No. 1:21-cv-03043-GPG-STV Document 69-11 filed 09/19/22 USDC Colorado pg 24
                                    of 38 490-2 Filed 05/06/14 Page 4 of 7
      Case 1:04-cv-00397-GBD-RLE Document
Case No. 1:21-cv-03043-GPG-STV Document 69-11 filed 09/19/22 USDC Colorado pg 25
                                    of 38 490-2 Filed 05/06/14 Page 5 of 7
      Case 1:04-cv-00397-GBD-RLE Document
Case No. 1:21-cv-03043-GPG-STV Document 69-11 filed 09/19/22 USDC Colorado pg 26
                                    of 38 490-2 Filed 05/06/14 Page 6 of 7
      Case 1:04-cv-00397-GBD-RLE Document
Case No. 1:21-cv-03043-GPG-STV Document 69-11 filed 09/19/22 USDC Colorado pg 27
                                    of 38 490-2 Filed 05/06/14 Page 7 of 7
      Case 1:04-cv-00397-GBD-RLE Document
Case No. 1:21-cv-03043-GPG-STV Document 69-11 filed 09/19/22 USDC Colorado pg 28
                                    of 38 490-3 Filed 05/06/14 Page 1 of 8
      Case 1:04-cv-00397-GBD-RLE Document




                EXHIBIT B
Case No. 1:21-cv-03043-GPG-STV Document 69-11 filed 09/19/22 USDC Colorado pg 29
                                    of 38 490-3 Filed 05/06/14 Page 2 of 8
      Case 1:04-cv-00397-GBD-RLE Document
Case No. 1:21-cv-03043-GPG-STV Document 69-11 filed 09/19/22 USDC Colorado pg 30
                                    of 38 490-3 Filed 05/06/14 Page 3 of 8
      Case 1:04-cv-00397-GBD-RLE Document
Case No. 1:21-cv-03043-GPG-STV Document 69-11 filed 09/19/22 USDC Colorado pg 31
                                    of 38 490-3 Filed 05/06/14 Page 4 of 8
      Case 1:04-cv-00397-GBD-RLE Document
Case No. 1:21-cv-03043-GPG-STV Document 69-11 filed 09/19/22 USDC Colorado pg 32
                                    of 38 490-3 Filed 05/06/14 Page 5 of 8
      Case 1:04-cv-00397-GBD-RLE Document
Case No. 1:21-cv-03043-GPG-STV Document 69-11 filed 09/19/22 USDC Colorado pg 33
                                    of 38 490-3 Filed 05/06/14 Page 6 of 8
      Case 1:04-cv-00397-GBD-RLE Document
Case No. 1:21-cv-03043-GPG-STV Document 69-11 filed 09/19/22 USDC Colorado pg 34
                                    of 38 490-3 Filed 05/06/14 Page 7 of 8
      Case 1:04-cv-00397-GBD-RLE Document
Case No. 1:21-cv-03043-GPG-STV Document 69-11 filed 09/19/22 USDC Colorado pg 35
                                    of 38 490-3 Filed 05/06/14 Page 8 of 8
      Case 1:04-cv-00397-GBD-RLE Document
Case No. 1:21-cv-03043-GPG-STV Document 69-11 filed 09/19/22 USDC Colorado pg 36
                                    of 38 490-4 Filed 05/06/14 Page 1 of 3
      Case 1:04-cv-00397-GBD-RLE Document




                EXHIBIT C
Case No. 1:21-cv-03043-GPG-STV Document 69-11 filed 09/19/22 USDC Colorado pg 37
                                    of 38 490-4 Filed 05/06/14 Page 2 of 3
      Case 1:04-cv-00397-GBD-RLE Document
Case No. 1:21-cv-03043-GPG-STV Document 69-11 filed 09/19/22 USDC Colorado pg 38
                                    of 38 490-4 Filed 05/06/14 Page 3 of 3
      Case 1:04-cv-00397-GBD-RLE Document
